Case 2:05-cV-02343-dkv Document 8 Filed 08/19/05 Page 1 of 4 Page|D 12

Fll.ED BY _, ___ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG l 9 PH 3; h3

 

   

WESTERN DIVISION
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cLERz<_. us ;.;: 1
WALTER SPlRES, as Suecessor in Interest to ) `ll.l'{l}' C is - l 41 453
Harmos Orthopedics, Inc., ) `
)
Plaintiff, ) No. 05-2343-MA V
) IURY DEMANDED
V- )
)
THORTEX, INC. and VIPER )
TECHNOLOGIES, LLC, d/b/a THORTEX, )
)
Defendants. )

 

JOINT PMB SCHEDULING OR_DER

 

Pursuant to written notice, a scheduling conference Was held_"l=hui‘s….

Present were Gregory O'Neal, counsel for Plaintiff, Walter Spires, and Marianne Bell Matthews,
counsel for Defendant, Viper Technologies, LLC, dfb/a Thortex. At the conference, the
following dates Were established as the final dates for:
lNITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a) ( 1): Friday, Septernber 2, 2005
JOINING PARTIES: Friday, October 21, 2005
AMENDING PLEADINGS: Friday, October 2], 2005
INITIAL MOTIONS TO DISMISS: Friday, November lS, 2005
COMPLETING ALL DISCOVERY: Thursday, April 20, 2006

(a) DOCUMENT PRODUCTION: Thursday, April 20, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: Thursday, April 20, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

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Case 2:05-cV-02343-dkv Document 8 Filed 08/19/05 Page 2 of 4 Page|D 13

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: Friday, February l7, 2006

(2) DISCLOSURE OF DEFENDANT‘S RULE 26 EXPERT
lNFORMATION: Monday, March 20, 2006

(3) EXPERT WITNESS DEPOSITIONS: Thursday, April 20, 2006
FILING DlSPOSlTlVE MOTIONS: Friday, l\/Iay 19, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for a jury trial, and the trial is expected to last 3-5 days. The pretrial order
date, pretrial conference date, and trial date Will be set by the presiding judge.

This case may be appropriate for ADR. The parties are directed to engage in court-
annexed attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant o Fed. R. Civ. p. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required.

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation With trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

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Case 2:05-cV-02343-dkv Document 8 Filed 08/19/05 Page 3 of 4 Page|D 14

IT IS SO ORDERED.

APPROVED:

M@r 75 %/W/`

DIANE K. VESCOVO
United States Magistrate Judge

Date: ddf/M /7., 52505`

 

/Gregory O'Neal/ W/ perm. by Marianne Bell Matthews (#20631)

 

Gregory O'Neal

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/Marianne Bell Matthews/

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02343 was distributed by fax, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

